      Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 1 of 28 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.,
                                                       Case No. 18-cv-03729
                        Plaintiffs,

       v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                         COMPLAINT

       Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (collectively, “Plaintiffs”) hereby

bring the present action against the Partnerships and Unincorporated Associations identified on

Schedule A attached hereto (collectively, “Defendants”) and allege as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at
      Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 2 of 28 PageID #:2



least the fully interactive, commercial Internet stores operating under at least the Defendant

Domain Names and/or the Online Marketplace Accounts identified in Schedule A attached

hereto (collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out

to do business with Illinois residents by operating one or more commercial, interactive

Defendant Internet Stores through which Illinois residents can purchase products using

counterfeit versions of Plaintiffs’ trademarks. Each of the Defendants has targeted sales from

Illinois residents by operating online stores that offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and, on information and belief, has sold products using

counterfeit versions of Plaintiffs’ trademarks to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Plaintiffs substantial injury in the State of Illinois.

                                        II. INTRODUCTION

        3.      This action has been filed by Plaintiffs to combat online counterfeiters who trade

upon Plaintiffs’ reputations and goodwill by offering for sale and/or selling unauthorized and

unlicensed counterfeit products, including eyewear, using counterfeits of Plaintiffs’ federally

registered trademarks (the “Counterfeit Products”).          The Defendants create the Defendant

Internet Stores in large numbers and design them to appear to be selling genuine products, while

actually selling Counterfeit Products to unknowing consumers. The Defendant Internet Stores

share unique identifiers, such as design elements and similarities of the Counterfeit Products

offered for sale, establishing a logical relationship between them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions

or occurrences. Defendants attempt to avoid liability by going to great lengths to conceal both

their identities and the full scope and interworking of their counterfeiting operation. Plaintiffs



                                                   2
      Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 3 of 28 PageID #:3



are forced to file these actions to combat Defendants’ counterfeiting of their registered

trademarks, as well as to protect unknowing consumers from purchasing Counterfeit Products

over the Internet. Plaintiffs have been and continue to be irreparably damaged through consumer

confusion, dilution, and tarnishment of their valuable trademarks as a result of Defendants’

actions and seek injunctive and monetary relief.

                                       III. THE PARTIES

Plaintiffs

Plaintiff Luxottica Group S.p.A.

       4.      Plaintiff Luxottica Group S.p.A. (“Luxottica”) is a corporation duly organized

under the laws of Italy with its principal place of business in Milan, Italy and an office located at

4000 Luxottica Place, Mason, Ohio 45040-8114. Luxottica is, in part, engaged in the business of

producing, manufacturing and distributing throughout the world, including within this judicial

district, premium, luxury and sports eyewear products under federally registered trademarks,

including, but not limited to, the RAY-BAN® family of marks.

       5.      For generations, the Ray-Ban brand has been the undisputed world leader in the

field of sun and prescription eyewear products, including those which prominently display the

famous, internationally recognized, and federally registered RAY-BAN trademarks (collectively,

the “Ray-Ban Products”).

       6.      Ray-Ban Products have become enormously popular and even iconic, driven by

the brand’s arduous quality standards and innovative design. Among the purchasing public,

genuine Ray-Ban Products are instantly recognizable as such. In the United States and around

the world, the Ray-Ban brand has come to symbolize high quality, and Ray-Ban Products are

among the most recognizable eyewear in the world. Ray-Ban Products are distributed and sold



                                                   3
      Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 4 of 28 PageID #:4



to consumers through retailers throughout the United States, including through authorized

retailers in Illinois such as Sunglass Hut and high-end department stores, and through the official

Ray-Ban.com website, which was launched in 1995 and began e-commerce sales in 2009.

       7.      Luxottica and its predecessors began using the RAY-BAN trademarks in 1937

and have continuously sold eyewear under the RAY-BAN and other trademarks (collectively, the

“RAY-BAN Trademarks”). As a result of this long-standing use, strong common law trademark

rights have amassed in the RAY-BAN Trademarks. Luxottica’s use of the marks has also built

substantial goodwill in and to the RAY-BAN Trademarks. The RAY-BAN Trademarks are

famous marks and valuable assets of Luxottica. Ray-Ban Products typically include at least one

of the registered RAY-BAN Trademarks.

       8.      Several of the RAY-BAN Trademarks are registered with the United States Patent

and Trademark Office, a non-exclusive list of which is included below.

Registration Number                 Trademark                        Goods and Services
                                                            For: Ophthalmic products and
                                                            accessories-namely, sunglasses;
       1,080,886                    RAY-BAN                 eyeglasses; spectacles; lenses and
                                                            frames for sunglasses, eyeglasses,
                                                            and spectacles in class 9.
                                                            For: Goods made of leather and
                                                            imitation leather, namely, wallets,
                                                            card cases for business cards, calling
                                                            cards, name cards and credit cards in
       2,718,485                    RAY-BAN                 class 18.

                                                            For: Clothing for men and women,
                                                            namely, polo shirts; headgear,
                                                            namely, berets and caps in class 25.
        595,513                    WAYFARER                 For: Sun glasses in class 9.
       1,537,974                 CLUBMASTER                 For: Sunglasses in class 9.




                                                4
     Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 5 of 28 PageID #:5




                                                          For: Sun glasses, shooting glasses,
       650,499
                                                          and ophthalmic lenses in class 9.

                                                          For: Ophthalmic products and
                                                          accessories-namely, sunglasses;
                                                          eyeglasses; spectacles; lenses and
      1,093,658                                           frames for sunglasses, eyeglasses,
                                                          spectacles; and cases and other
                                                          protective covers for sunglasses,
                                                          eyeglasses, and spectacles in class 9.
                                                          For: Bags; namely, tote, duffle and
                                                          all purpose sports bags in class 18.

                                                          For: Cloths for cleaning opthalmic
      1,726,955
                                                          products in class 21.

                                                          For: Clothing and headgear; namely,
                                                          hats in class 25.


      1,320,460                                           For: Sunglasses and carrying cases
                                                          therefor in class 9.




                                                          For: Sunglasses, eyeglasses, lenses
      3,522,603                                           for eyeglasses, eyeglasses frames,
                                                          and cases for eyeglasses in class 9.



       9.     The above U.S. registrations for the RAY-BAN Trademarks are valid, subsisting,

in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065.           The

registrations for the RAY-BAN Trademarks constitute prima facie evidence of their validity and

of Luxottica’s exclusive right to use the RAY-BAN Trademarks pursuant to 15 U.S.C. § 1057

(b). True and correct copies of the United States Registration Certificates for the above-listed

RAY-BAN Trademarks are attached hereto as Exhibit 1.



                                               5
      Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 6 of 28 PageID #:6



       10.    The RAY-BAN Trademarks are distinctive when applied to the Ray-Ban

Products, signifying to the purchaser that the products come from Luxottica and are

manufactured to Luxottica’s quality standards. Whether Luxottica manufactures the products

itself or contracts with others to do so, Luxottica has ensured that products bearing the RAY-

BAN Trademarks are manufactured to the highest quality standards.

       11.    The RAY-BAN Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1), and have been continuously used and never abandoned. The innovative marketing

and product designs of the Ray-Ban Products have enabled the Ray-Ban brand to achieve

widespread recognition and fame and have made the RAY-BAN Trademarks some of the most

well-known marks in the sun and prescription eyewear industry.         The widespread fame,

outstanding reputation, and significant goodwill associated with the Ray-Ban brand have made

the RAY-BAN Trademarks valuable assets of Luxottica.

       12.    Luxottica has expended substantial time, money, and other resources in

advertising and promoting the RAY-BAN Trademarks. In fact, Luxottica has expended millions

of dollars annually in advertising, promoting and marketing featuring the RAY-BAN

Trademarks. Ray-Ban Products have also been the subject of extensive unsolicited publicity

resulting from their high-quality, innovative designs. As a result, products bearing the RAY-

BAN Trademarks are widely recognized and exclusively associated by consumers, the public,

and the trade as being high-quality products sourced from Luxottica. Ray-Ban Products have

become among the most popular of their kind in the U.S. and the world. The RAY-BAN

Trademarks have achieved tremendous fame and recognition which has only added to the

inherent distinctiveness of the marks. Id. As such, the goodwill associated with the RAY-BAN

Trademarks is of incalculable and inestimable value to Luxottica.



                                               6
     Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 7 of 28 PageID #:7



       13.    Genuine Ray-Ban Products are sold only through authorized retail channels and

are recognized by the public as being exclusively associated with the Ray-Ban brand.

       14.    Since at least as early as 2009, genuine Ray-Ban Products have been promoted

and sold at the official Ray-Ban.com website. Sales of Ray-Ban Products via the Ray-Ban.com

website are significant. The Ray-Ban.com website features proprietary content, images and

designs exclusive to the Ray-Ban brand.

Plaintiff Oakley, Inc.

       15.    Plaintiff Oakley, Inc. (“Oakley”) is a corporation organized and existing under the

laws of the State of Washington, having its principal place of business at One Icon, Foothill

Ranch, California 92610.

       16.    Plaintiff Oakley is an indirect, wholly-owned subsidiary of Luxottica.

       17.    Oakley is an internationally recognized manufacturer, distributor and retailer of

sports eyewear, apparel, footwear, outerwear, jackets, accessories and other merchandise, all of

which prominently display its famous, internationally-recognized and federally-registered

trademarks, including OAKLEY and various Icon logos (collectively, the “Oakley Products”).

Oakley Products have become enormously popular and even iconic, driven by Oakley’s arduous

quality standards and innovative design. Among the purchasing public, genuine Oakley Products

are instantly recognizable as such. In the United States and around the world, the Oakley brand

has come to symbolize high quality, and Oakley Products are among the most recognizable

eyewear, headwear, footwear, outerwear, jackets and apparel in the world.

       18.    Oakley Products are distributed and sold to consumers through retailers

throughout the United States, including through authorized retailers in Illinois, the official




                                               7
     Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 8 of 28 PageID #:8



oakley.com website which was launched in 1995, and Oakley O Stores, including one located at

835 N. Michigan Avenue in Chicago, Illinois.

       19.    Oakley incorporates a variety of distinctive marks in the design of its various

Oakley Products. As a result of its long-standing use, Oakley owns common law trademark

rights in its OAKLEY trademarks. Oakley has also registered its trademarks with the United

States Patent and Trademark Office. Oakley Products typically include at least one of Oakley’s

registered trademarks. Often several Oakley marks are displayed on a single Oakley Product.

Oakley has registered its trademarks with the United States Patent and Trademark Office.

Oakley uses its trademarks in connection with the marketing of its Oakley Products, including

the following marks which are collectively referred to as the “OAKLEY Trademarks.”

Registration Number             Trademark                       Good and Services
                                                      For: Sunglasses and accessories for
      1,521,599                  OAKLEY               sunglasses, namely, replacement lenses,
                                                      ear stems and nose pieces in class 9.
                                                      For: Clothing, namely, shirts and hats in
      1,522,692                  OAKLEY
                                                      class 25.
      1,552,583                  OAKLEY               For: Goggles in class 9.
                                                      For: Clothing, headwear and footwear
                                                      and footwear, namely, sport shirts,
                                                      jerseys, shirts, jackets, vests,
      2,293,046                  OAKLEY               sweatshirts, pullovers, coats, ski pants,
                                                      headwear, caps, shoes, athletic footwear,
                                                      all purpose sports footwear and socks in
                                                      class 25.
                                                      For: Prescription eyewear, namely,
                                                      sunglasses and spectacles; eyewear
                                                      containing electronics devices, namely,
                                                      protective eyewear, eyeglasses,
                                                      sunglasses and spectacles; electronics,
      3,153,943                  OAKLEY
                                                      namely portable digital electronic
                                                      devices for recording, organizing, and
                                                      reviewing text, data and audio files;
                                                      computer software for use in recording,
                                                      organizing, and reviewing text, data and
                                                      audio files on portable digital electronic

                                               8
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 9 of 28 PageID #:9



                                           devices; transmitters, receivers, speakers
                                           and parts thereof for use with cellular,
                                           wireless computer and telephone
                                           communication systems;
                                           communication devices for use on
                                           eyewear, namely earpieces, transmitters,
                                           receivers, speakers and parts thereof for
                                           use with cellular, wireless computer and
                                           telephone communication systems;
                                           wearable audio visual display, namely,
                                           protective eyewear, eyeglasses,
                                           sunglasses and spectacles containing an
                                           audio visual display; wireless
                                           telecommunications modules in class 9.
                                           For: Retail store services and on-line
                                           retail store services featuring eyewear,
                                           replacement lenses, eyewear nosepiece
3,771,517               OAKLEY             kits, clothing, headwear, footwear,
                                           watches, decals, electronics devices,
                                           posters, athletic bags, handbags,
                                           backpacks and luggage in class 35.
                                           For: Protective and/or anti-glare
                                           eyewear, namely sunglasses, goggles,
                                           spectacles and their parts and
1,980,039                                  accessories, namely replacement lenses,
                                           earstems, frames, nose pieces and foam
                                           strips; cases specially adapted for
                                           protective and/or anti-glare eyewear and
                                           their parts and accessories in class 9.
                                           For: Goggles, sunglasses, and protective
                                           pads for elbows, feet and knees in class
                                           9.
1,356,297                                  For: Clothing - namely t-shirts; gloves;
                                           racing pants; hats; sweatshirts; sport
                                           shirts, jackets, jeans, jerseys and ski
                                           pants, jackets, hats, gloves and socks in
                                           class 25.
                                           For: Sunglasses and accessories for
1,519,596                                  sunglasses, namely, replacement lenses,
                                           ear stems and nose pieces in class 9.




                                   9
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 10 of 28 PageID #:10



                                           For: Clothing, namely, t-shirts, beach-
                                           wear, blouses, sports shirts, jerseys,
                                           swimwear, swimtrunks, shorts,
                                           underwear, shirts, pants, racing pants,
                                           ski and snowboard pants and jackets,
 3,496,633                                 jeans, vests, jackets, wetsuits, sweaters,
                                           pullovers, coats, sweatpants, headwear,
                                           namely, hats, caps, visors and footwear,
                                           namely, wetsuit booties, shoes, sandals,
                                           athletic footwear, all purpose sports
                                           footwear, thongs and boots in class 25.
                                           For: Protective eyewear, namely
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories; and protective
                                           clothing, namely, racing pants in class 9.

 3,331,124                                 For: Clothing, namely, t-shirts, beach-
                                           wear, blouses, sports shirts, jerseys,
                                           swimwear, swimtrunks, shorts,
                                           underwear, shirts, pants, ski and
                                           snowboard pants and jackets, jeans,
                                           vests, jackets, wetsuits, sweaters,
                                           pullovers, coats, sweatpants, headwear,
                                           namely, hats, caps, visors and footwear,
                                           namely wetsuit booties, shoes, sandals,
                                           athletic footwear, all purpose sports
                                           footwear, thongs and boots in class 25.
                                           For: Protective eyewear, namely
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely
 3,151,994
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Retail store services and on-line
                                           retail store services featuring eyewear,
 3,771,516                                 replacement lenses, eyewear nosepiece
                                           kits, clothing, headwear, footwear,
                                           watches, decals, electronics devices,

                                    10
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 11 of 28 PageID #:11



                                            posters, athletic bags, handbags,
                                            backpacks and luggage in class 35.

                                           For: Clothing, namely, T-shirts,
                                           beachwear, blouses, sports shirts,
                                           jerseys, shorts, shirts, pants, racing
                                           pants, ski pants, vests, jackets, sweaters,
 2,300,245                                 pullovers, coats, sweatpants, sweatshirts,
                                           headwear, namely, hats, caps, and
                                           footwear, namely, shoes, athletic
                                           footwear, all purpose sports footwear in
                                           class 25.

                                           For: Printed material, namely decals and
 1,927,106
                                           stickers in class 16.
                                           For: Protective and/or anti-glare
                                           eyewear, namely sunglasses, goggles,
                                           spectacles and their parts and
                                           accessories, namely replacement lenses,
                                           earstems, frames, nose pieces and foam
                                           strips; cases specially adapted for
 1,984,501                                 protective and/or anti-glare eyewear and
                                           their parts and accessories in class 9.

                                           For: Clothing and headwear, namely T-
                                           shirts, sweatshirts, jackets, hats, and
                                           caps in class 25.

 5,109,790                                 For: Gloves in class 25.

                                           For: Eyewear, namely, sunglasses,
                                           sports goggles, spectacles and their parts
                                           and accessories, namely, replacement
 4,407,750             CROSSLINK           lenses, ear stems, frames, nose pieces
                                           and foam strips; cases specially adapted
                                           for eyewear and their parts and
                                           accessories in class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,733,882               IRIDIUM
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.

                                    11
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 12 of 28 PageID #:12



                                           For: Eyewear, namely, sunglasses,
                                           goggles, spectacles and their parts and
                                           accessories, namely, replacement lenses,
 4,827,569            JAWBREAKER           ear stems, frames, nose pieces and foam
                                           strips; cases specifically adapted for
                                           eyewear and their parts and accessories
                                           in class 9.
                                           For: Eyewear, namely, sunglasses,
                                           sports goggles, spectacles and their parts
                                           and accessories, namely, replacement
 4,407,749             RADARLOCK           lenses, ear stems, frames, nose pieces
                                           and foam strips; cases specially adapted
                                           for eyewear and their parts and
                                           accessories in class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,489,952               OIL RIG
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Eyewear, namely sunglasses and
                                           accessories for sunglasses, namely,
 4,194,197             FROGSKINS
                                           replacement lenses, ear stems and nose
                                           pieces in class 9.
                                           For: Eyewear, namely, sunglasses,
                                           goggles, spectacles and their parts and
                                           accessories, namely, replacement lenses,
 4,847,461                 FLAK            ear stems, frames, nose pieces and foam
                                           strips; cases specifically adapted for
                                           eyewear and their parts and accessories
                                           in class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,379,110                RADAR
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Eyewear, namely, sunglasses,
                                           goggles, spectacles and their parts and
 5,026,399                LATCH            accessories, namely, replacement lenses,
                                           ear stems, frames, nose pieces and foam
                                           strips; cases specifically adapted for

                                    12
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 13 of 28 PageID #:13



                                           eyewear and their parts and accessories
                                           in class 9.
                                           For: Protective and anti-glare eyewear,
                                           namely, sunglasses, goggles, spectacles
                                           and their parts and accessories, namely,
 4,822,664            SI TOMBSTONE         replacement lenses, ear stems, frames,
                                           nose pieces and foam strips; cases
                                           specifically adapted for protective and
                                           anti-glare eyewear in class 9.
                                           For: Protective eyewear, namely
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely
 3,245,494               GASCAN
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Eyewear, namely, sunglasses in
 4,956,691            TRIGGERMAN
                                           class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,680,975           FIVES SQUARED
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Protective eyewear, namely
                                           spectacles, prescription eyewear,
                                           namely, spectacles and sunglasses, anti-
                                           glare glasses and sunglasses and parts
 2,900,432                VALVE
                                           thereof, namely replacement lenses,
                                           frames, earstems, and nose pieces; cases
                                           specially adapted for spectacles and
                                           sunglasses in class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,941,018                 PATH
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Protective eyewear, namely,
 5,026,407          JUPITER SQUARED        spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their

                                    13
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 14 of 28 PageID #:14



                                           parts and accessories, namely,
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 4,136,113              BATWOLF
                                           replacement lenses, frames, ear stems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Protective eyewear; namely,
                                           goggles, anti-glare glasses; sunglasses
                                           and their parts; namely, lenses,
 1,701,476              M FRAME
                                           replacement lenses, frames, earstems
                                           and nose pieces; cases specially adapted
                                           for sunglasses and their parts in class 9.
                                           For: Protective and/or anti-glare
                                           eyewear, namely, sunglasses, goggles,
                                           spectacles and their parts and
                                           accessories including replacement
 2,054,810          STRAIGHT JACKET        lenses, earstems, frames, nose pieces
                                           and foam strips; cases specially adapted
                                           for protective and/or anti-glare eyewear
                                           and their parts and accessories in class
                                           9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                      FLAK JACKET          parts and accessories, namely,
 3,379,109
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Eyewear, namely, sunglasses,
                                           goggles, spectacles and their parts and
                                           accessories, namely, replacement lenses,
 4,756,605               BADMAN            ear stems, frames, nose pieces and foam
                                           strips; cases specifically adapted for
                                           eyewear and their parts and accessories
                                           in class 9.
                                           For: Eyewear, namely, sunglasses,
 4,618,566               TINCAN            goggles, spectacles and their parts and
                                           accessories, namely, replacement lenses,

                                    14
Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 15 of 28 PageID #:15



                                           ear stems, frames, nose pieces and foam
                                           strips; cases specifically adapted for
                                           eyewear and their parts and accessories
                                           in class 9.
                                           For: Protective and/or antiglare eyewear,
                                           namely, sunglasses, goggles, spectacles
                                           and their parts and accessories, namely,
                                           replacement lenses, earstems, frames,
 2,106,614            SQUARE WIRE
                                           nose pieces, and foam strips; cases
                                           specially adapted for protective and/or
                                           antiglare eyewear and their parts and
                                           accessories in class 9.
                                           For: Protective and/or anti-glare
                                           eyewear, namely sunglasses, goggles,
                                           spectacles and their parts and
                                           accessories, namely replacement lenses,
 1,952,697               JACKET
                                           earstems, frames, nose pieces and foam
                                           strips; cases specially adapted for
                                           protective and/or anti-glare eyewear in
                                           class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,468,824                HIJINX
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Protective eyewear, namely,
                                           spectacles, prescription eyewear, anti
                                           glare glasses and sunglasses and their
                                           parts and accessories, namely,
 3,732,382              RESTLESS
                                           replacement lenses, frames, earstems,
                                           and nose pieces; cases specially adapted
                                           for spectacles and sunglasses and their
                                           parts and accessories in class 9.
                                           For: Protective eyewear, namely,
 2,087,464               O FRAME           goggles and replacement parts for
                                           goggles in class 9.
                                           For: Protective eyewear, namely,
 2,087,466               E FRAME           goggles and replacement parts for
                                           goggles in class 9.
                                           For: Sporting goods, namely goggles
 3,126,622                                 and replacement parts for goggles for
                        CROWBAR
                                           skiing, snowboarding and motocross in
                                           class 9.

                                    15
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 16 of 28 PageID #:16



       20.    The above registrations for the OAKLEY Trademarks are valid, subsisting, in full

force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The OAKLEY

Trademarks have been used exclusively and continuously by Oakley, some since at least as early

as 1975, and have never been abandoned. Attached hereto as Exhibit 2 are true and correct

copies of the United States Registration Certificates for the OAKLEY Trademarks included in

the above table. The registrations for the OAKLEY Trademarks constitute prima facie evidence

of their validity and of Oakley’s exclusive right to use the OAKLEY Trademarks pursuant to 15

U.S.C. § 1057(b).

       21.    The OAKLEY Trademarks are exclusive to Oakley, and are displayed extensively

on Oakley Products and in Oakley’s marketing and promotional materials. Typically, at least one

of the OAKLEY Trademarks are included on Oakley Products. Oakley Products have long been

among the most popular eyewear in the world and have been extensively promoted and

advertised at great expense.   In fact, Oakley has expended millions of dollars annually in

advertising, promoting and marketing featuring the OAKLEY Trademarks. Oakley Products

have also been the subject of extensive unsolicited publicity resulting from their high-quality,

innovative designs and renown as desired luxury items. Because of these and other factors, the

Oakley name and the OAKLEY Trademarks have become famous throughout the United States.

       22.    The OAKLEY Trademarks are distinctive when applied to the Oakley Products,

signifying to the purchaser that the products come from Oakley and are manufactured to

Oakley’s quality standards. Whether Oakley manufactures the products itself or licenses others

to do so, Oakley has ensured that products bearing its trademarks are manufactured to the highest

quality standards. The OAKLEY Trademarks have achieved tremendous fame and recognition,




                                               16
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 17 of 28 PageID #:17



which has only added to the inherent distinctiveness of the marks. As such, the goodwill

associated with the OAKLEY Trademarks is of incalculable and inestimable value to Oakley.

       23.      Since at least as early as 1995, Oakley has operated a website where it promotes

and sells genuine Oakley Products at oakley.com. Sales of Oakley Products via the oakley.com

website represent a significant portion of Oakley’s business. The oakley.com website features

proprietary content, images and designs exclusive to Oakley.

       24.      Oakley’s innovative marketing and product designs have enabled Oakley to

achieve widespread recognition and fame and have made the OAKLEY Trademarks some of the

most well-known marks in the eyewear and apparel industry. The widespread fame, outstanding

reputation, and significant goodwill associated with the Oakley brand have made the OAKLEY

Trademarks valuable assets of Oakley.

       25.      Oakley has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting the OAKLEY Trademarks. As a result, products bearing

the OAKLEY Trademarks are widely recognized and exclusively associated by consumers, the

public, and the trade as being high-quality products sourced from Oakley. Oakley is a multi-

million dollar operation, and Oakley Products have become among the most popular of their kind

in the world.

       26.      The RAY-BAN Trademarks and the OAKLEY Trademarks are collectively

referred to herein as “Plaintiffs’ Trademarks.”

       27.      The Ray-Ban Products and the Oakley Products are collectively referred to herein

as “Plaintiffs’ Products.”




                                                  17
     Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 18 of 28 PageID #:18



The Defendants

        28.    Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and

continues to sell Counterfeit Products to consumers within the United States, including the State

of Illinois.

        29.    On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of Plaintiffs’ Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    In the event that Defendants provide additional credible information

regarding their identities, Plaintiffs will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

        30.    The success of Plaintiffs’ respective brands has resulted in their significant

 counterfeiting. Consequently, Plaintiffs have a worldwide anti-counterfeiting program and

 regularly investigate suspicious websites and online marketplace listings identified in proactive

 Internet sweeps and reported by consumers. In recent years, Plaintiffs have identified thousands

 of domain names linked to fully interactive websites and marketplace listings on platforms such



                                                18
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 19 of 28 PageID #:19



as iOffer, eBay, AliExpress, and Alibaba, including the Defendant Internet Stores, which were

offering for sale and selling Counterfeit Products to consumers in this Judicial District and

throughout the United States. Despite Plaintiffs’ enforcement efforts online and on the ground,

Defendants have persisted in creating the Defendant Internet Stores. Internet websites like the

Defendant Internet Stores are estimated to receive tens of millions of visits per year and to

generate over $135 billion in annual online sales. According to an intellectual property rights

seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail price

(MSRP) of goods seized by the U.S. government in fiscal year 2014 was over $1.23 billion.

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       31.     Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Alipay, Western Union, and PayPal. The Defendant Internet Stores often include

content and design elements that make it very difficult for consumers to distinguish such

counterfeit sites from an authorized website. Many Defendants further perpetuate the illusion of

legitimacy by offering customer service and using indicia of authenticity and security that

consumers have come to associate with authorized retailers, including the Visa®, MasterCard®,

and/or PayPal® logos. Plaintiffs have not licensed or authorized Defendants to use any of the

Plaintiffs’ Trademarks, and none of the Defendants are authorized retailers of genuine Plaintiffs’

Products.




                                               19
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 20 of 28 PageID #:20



       32.     Many Defendants also deceive unknowing consumers by using Plaintiffs’

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Plaintiffs’ Products. Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine Plaintiffs’ Products.          Other

Defendants only show Plaintiffs’ Trademarks in product images while using strategic item titles

and descriptions that will trigger their listings when consumers are searching for Plaintiffs’

Products.

       33.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal

their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.

       34.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.          For example, many of the



                                               20
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 21 of 28 PageID #:21



Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Products for sale in the Defendant

Internet Stores bear similar irregularities and indicia of being counterfeit to one another,

suggesting that the Counterfeit Products were manufactured by and come from a common source

and that Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, shopping cart

platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,

similar hosting services, similar name servers, and the use of the same text and images, including

content copied from Plaintiffs’ official ray-ban.com and oakley.com websites.

       35.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.

       36.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiffs’ enforcement efforts.     On information and belief,



                                               21
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 22 of 28 PageID #:22



Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       37.     Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully used and continue to use Plaintiffs’ Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Products into the United

States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the United

States, including Illinois, and, on information and belief, each Defendant has sold Counterfeit

Products into the United States, including Illinois.

       38.     Defendants’ use of Plaintiffs’ Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit Products, including the sale of Counterfeit

Products into the United States, including Illinois, is likely to cause and has caused confusion,

mistake, and deception by and among consumers and is irreparably harming Plaintiffs.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       39.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 38.

       40.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiffs’

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. Plaintiffs’ Trademarks are highly distinctive marks. Consumers have come to




                                                   22
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 23 of 28 PageID #:23



expect the highest quality from Plaintiffs’ Products offered, sold or marketed under Plaintiffs’

Trademarks.

       41.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of Plaintiffs’ Trademarks without Plaintiffs’ permission.

       42.     Plaintiffs are the exclusive owners of their respective Plaintiffs’ Trademarks.

Plaintiffs’ United States Registrations for their respective Plaintiffs’ Trademarks (Exhibits 1-2)

are in full force and effect. Upon information and belief, Defendants have knowledge of

Plaintiffs’ rights in Plaintiffs’ Trademarks, and are willfully infringing and intentionally using

counterfeits of Plaintiffs’ Trademarks. Defendants’ willful, intentional and unauthorized use of

Plaintiffs’ Trademarks is likely to cause and is causing confusion, mistake, and deception as to

the origin and quality of the Counterfeit Products among the general public.

       43.     Defendants’     activities   constitute   willful   trademark   infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       44.     Plaintiffs have no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the goodwill

of Plaintiffs’ Trademarks.

       45.     The injuries and damages sustained by Plaintiffs have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       46.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 45.

                                                 23
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 24 of 28 PageID #:24



       47.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiffs or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiffs.

       48.     By using Plaintiffs’ Trademarks in connection with the sale of Counterfeit

Products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the Counterfeit Products.

       49.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       50.     Plaintiffs have no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiffs will continue to suffer irreparable harm to their reputations and the associated

goodwill of Plaintiffs’ respective brands.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       51.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

paragraphs 1 through 50.

       52.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Products as those of Plaintiffs, causing a likelihood of confusion

and/or misunderstanding as to the source of their goods, causing a likelihood of confusion and/or

misunderstanding as to an affiliation, connection, or association with genuine Plaintiffs’

Products, representing that their products have Plaintiffs’ approval when they do not, and




                                                 24
     Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 25 of 28 PageID #:25



engaging in other conduct which creates a likelihood of confusion or misunderstanding among

the public.

        53.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

        54.      Plaintiffs have no adequate remedy at law, and Defendants’ conduct has caused

Plaintiffs’ to suffer damage to their reputations and associated goodwill. Unless enjoined by the

Court, Plaintiffs will suffer future irreparable harm as a direct result of Defendants’ unlawful

activities.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

    confederates, and all persons acting for, with, by, through, under or in active concert with

    them be temporarily, preliminarily, and permanently enjoined and restrained from:

        a. using Plaintiffs’ Trademarks or any reproductions, counterfeit copies or colorable

              imitations thereof in any manner in connection with the distribution, marketing,

              advertising, offering for sale, or sale of any product that is not a genuine Plaintiffs’

              Product or is not authorized by Plaintiffs to be sold in connection with Plaintiffs’

              Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

              Plaintiffs’ Product or any other product produced by Plaintiffs, that is not Plaintiffs’

              or not produced under the authorization, control, or supervision of Plaintiffs and

              approved by Plaintiffs for sale under Plaintiffs’ Trademarks;




                                                  25
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 26 of 28 PageID #:26



       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control or supervision of

           Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

       d. further infringing Plaintiffs’ Trademarks and damaging Plaintiffs’ goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiffs, nor authorized by

           Plaintiffs to be sold or offered for sale, and which bear any of Plaintiffs’ trademarks,

           including the Plaintiffs’ Trademarks, or any reproductions, counterfeit copies or

           colorable imitations thereof;

2) Entry of an Order that, at Plaintiffs’ choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Plaintiffs, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Plaintiffs’

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,       LLC        (“GoDaddy”),    Name.com,       PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Plaintiffs’

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;

3) Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms



                                                26
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 27 of 28 PageID #:27



   such as iOffer, eBay, AliExpress, and Alibaba, web hosts, sponsored search engine or ad-

   word providers, credit cards, banks, merchant account providers, third party processors and

   other payment processing service providers, Internet search engines such as Google, Bing

   and Yahoo, and domain name registrars, including, but not limited to, GoDaddy, Name.com,

   PDR, and Namecheap, (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using Plaintiffs’ Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using

           Plaintiffs’ Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

           on Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Plaintiffs all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of Plaintiffs’ Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Plaintiffs be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   Plaintiffs’ Trademarks;

6) That Plaintiffs be awarded their reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.




                                               27
    Case: 1:18-cv-03729 Document #: 1 Filed: 05/29/18 Page 28 of 28 PageID #:28



Dated this 29th day of May 2018.      Respectfully submitted,


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                                        28
